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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
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UNITED STATES OF AMERICA,

Plaintiff,
vs.

JAYSON MICHAEL BABBITT

Defendant.

 

 

 

 

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2:19-MJ-00655-EJY
Case No.:

CRIMINAL COMPLAINT

Count One

18 U.S.C. § 922(a)(1)(A) — Engaging in
the Business of Dealing in Firearms
Without a License

Count Two
18 U.S.C. § 922(0) — Illegal Possession of a
Machine Gun

Count Three

26 U.S.C. § 5861(f) — Making of a Firearm
in Violation of the National Firearms Act
(Machine Gun)

 
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Before the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
complainant, being duly sworn, deposes and states:
COUNT ONE
Engaging in the Business of Dealing in Firearms Without a License
18 U.S.C. § 922(a)(1)(A)

Beginning on or about June 17, 2019, and continuing up to and including September

3, 2019, in the State and Federal District of Nevada,
JAYSON MICHAEL BABBITT,

the defendant herein, not being a licensed dealer, importer, and manufacturer of firearms
within the meaning of Chapter 44, Title 18, United States Code, did willfully engage in the
business of dealing in, importing, and manufacturing firearms, in that he did sell to another
person a black firearm with an 8 % inch barrel, bearing no serial number, which
automatically shoots more than one shot, without manual reloading, by a single function of
the trigger, and a black firearm with a 16 inch barrel, bearing no serial number, which
automatically shoots more than one shot, without manual reloading, by a single function of
the trigger, all in violation of Title 18, United States Code, Sections 922(a)(1)(A), 923(a), and
924(a)(1)(D).

COUNT TWO
Ilegal Possession of a Machine Gun
18 U.S.C. § 922(0)

On or about July 24, 2019, in the State and Federal District of Nevada,
JAYSON MICHAEL BABBITT,
the defendant herein, did knowingly possess and transfer machine guns, to wit: a black
firearm with an 8 4 inch barrel, bearing no serial number, which automatically shoots more
than one shot, without manual reloading, by a single function of the trigger, and a black

firearm with a 16 inch barrel, bearing no serial number, which automatically shoots more

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than one shot, without manual reloading, by a single function of the trigger, all in violation
of Title 18, United States Code, Sections 922(0) and 924(a)(2).

COUNT THREE
Making of a Firearm in Violation of the National Firearms Act (Machine Gun)
26 U.S.C. § 5861)

On or about July 24, 2019, in the State and Federal District of Nevada,
JAYSON MICHAEL BABBITT,

the defendant herein, knowingly made a firearm, to wit: a black firearm with an 8 % inch
barrel, bearing no serial number, which automatically shoots more than one shot, without
manual reloading, by a single function of the trigger, and a black firearm with a 16 inch
barrel, bearing no serial number, which automatically shoots more than one shot, without
manual reloading, by a single function of the trigger, which is a machine gun as defined
pursuant to Title 26, United States Code, Section 5845(a)(6) and (b), all in violation of Title
26, United States Code, Sections 5822, 5861(f), and 5871.

PROBABLE CAUSE

I, GREGORY PAINTON, Special Agent with the Bureau of Alcohol, Tobacco,
Firearms and Explosives, being duly sworn, hereby declare and state the following:

1. I am a Special Agent of the Bureau of Alcohol, Tobacco, Firearms and
Explosives (hereafter, “ATF”), and as such, Iam an "investigative or law enforcement officer
of the United States" within the meaning of Title 18, United States Code (U.S.C.), Section
2510(7); that is, an officer of the United States, who is empowered by law to conduct
investigations of and make arrests for offenses enumerated in Title 18, U.S.C., Section 2516.

2. I have been employed with ATF since May 2014. I am currently assigned to
the Las Vegas Field Division of the ATF where I am responsible for investigating federal

firearm violations and specializing in the reduction of violent crime, including gang activity

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and narcotics violations. As an ATF Special Agent, I have successfully completed the
Criminal Investigator Training Program (CITP) and Special Agent Basic Training (SABT)
at the Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia. I have
approximately seven (7) years of prior law enforcement experience as a city Police Officer
within the state of Arizona, as well as a Criminal Investigator with the Nevada Attorney
General’s Office.

3. During my professional training and experience, I have both assisted in and
conducted investigations into firearms and narcotic violations. I have also participated in
undercover operations, and in the execution of search warrants at locations associated with
these individuals. During the execution of search warrants, I have participated in the
recovery of evidence related to firearms and narcotic violations. Through this experience
and training, and based upon the experience of other Special Agents which have been relayed
to me, I have become familiar with the modus operandi of firearms traffickers, narcotics
traffickers, and illegal possessors of firearms and ammunition as enumerated herein.

A. I have been involved in an investigation, which is the subject of this Affidavit.
Due to my personal participation in this investigation and reports made to me by other ATF
Agents and other Law Enforcement Officers, I am familiar with all of the facts and
circumstances surrounding the investigation. My training and experience as a Special Agent,
including participation in this investigation, form the basis for opinions and conclusions set
forth below.

5. The facts in this complaint come from my personal observations, my training
and experience, and information obtained from other agents and witnesses. The following
information contained within this criminal complaint is based upon my participation in this

investigation or was provided to me by other law enforcement personnel. This complaint is

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intended to show merely that there is sufficient probable cause for the requested complaint
and does not set forth all of my knowledge about this matter.

6. Based on the facts set forth in this affidavit, there is probable cause to believe
that violations of Title 18, United States Code, Section 922(a)(1)(A), Engaging in the
Business of Dealing in Firearms Without a License, Title 18, United States Code, Section
922(0), Illegal Possession of a Machine Gun, and Title 26, United States Code, Section
5861(f), Making of a Firearm in Violation of the National Firearms Act (Machine Gun) have
been committed by Jayson Michael BABBITT.

7. On or around June 17, 2019, the ATF Las Vegas Field Office learned, through
a Las Vegas Metropolitan Police Department (LVMPD) Confidential Informant (CI) that a
subject identified as Jayson Michael BABBITT was suspected of manufacturing and/or
converting full-automatic machine gun style firearms and offering them for purchase in the
Las Vegas, NV area.

8. On July 24, 2019 around 1500 hours, ATF and LVMPD conducted an
operation for LVMPD UC to purchase two (2) suspected AR-15 style machine-guns from
BABBITT. BABBITT agreed to meet UC at the Shell Gas Station, located at 8835 S Eastern
Ave., Las Vegas, Nevada. BABBITT stated that he had to run home and pick up the rifles
and would be right there. At approximately, 1535 hours, UC sent BABBITT a text message
stating that UC was at the La Tapatia Market at 8826 S Eastern Ave., instead of the Shell
Gas station. At approximately 1543 hours, BABBITT texted back stating that he is at the
Shell station and will be right over. A few moments later, BABBITT arrived in a Door Dodge
Truck, bearing Nevada License plate 530ZCF. BABBITT parked next to UC’s vehicle and

entered the front passenger door of the UC vehicle.

 
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9. BABBITT advised UC that the rifles were in his truck, but wanted to show
UC how BABBITT made the rifles first. BABBITT explained to UC that the firearms were
made from 80% lower receivers and that they were “Ghost Guns.” BABBITT explained that
“Ghost Guns” means that the firearms do not have any serial numbers, so they do not exist
in the eyes of the ATF. BABBITT went on to explain that BABBITT made the firearms from
a block of aluminum with a “jig” at his home. BABBITT used one 8 % inch barrel and one
16 inch barrel along with M-16 machine gun parts to finish the firearm, and explained that
the M-16 parts will last longer. BABBITT used his cellular phone to show UC pictures of
the “jig” that BABBITT used to manufacture the firearms, along with a video of BABBITT
“test firing” the rifles to make sure they functioned. UC stated that the video showed an
unknown male subject shooting a rifle in 3-4 round spurts at a time.

10. BABBITT advised UC that BABBITT did not want to see these guns again
after UC takes them. UC acknowledged that the firearms were leaving the “States,” meaning
the Unites States. BABBITT then exited the UC vehicle and retrieved a gun bag from the
rear seat of BABBITT’s vehicle. BABBITT opened the rear door of the UC vehicle and
placed the bag in the back seat, before returning to sit in the front seat of the UC vehicle.
BABBITT retrieved two (2) rifles from the bag and began manipulating them to show UC
how to operate the firearms.

11. BABBITT explained to UC that if UC wanted real M-16 machine guns, it
would cost around $25,000 each. BABBITT stated to the UC that the short barrel rifle was
illegal.

12. UC paid BABBITT $4,200.00 cash for the two rifles. BABBITT told UC that
BABBITT was going to stock up on the parts to manufacture the rifles so it did not take as

long to make them for UC.

 
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13. Law enforcement surveillance units subsequently followed BABBITT to a
residence located at 2194 Haypenny Ct., Las Vegas, Nevada 89123, and BABBITT entered
the residence.

14. On June 17, 2019, I had queried if BABBITT possessed a Federal Firearm
License (FFL) to engage in the business of manufacturing or dealing firearms, which
returned a negative result. Furthermore, upon information and belief BABBITT has not
registered, paid tax on, and obtained approval to make and possess the firearms that he sold
to UC.

15. On June 17, 2019, a criminal history query revealed that BABBITT is not a
convicted felon.

16. On August 1, 2019, the firearms purchased from BABBITT on July 24, 2019
were examined through the ATF Firearms Technology Criminal Branch. Both firearms were
tested and found that they shoot automatically more than one shot, without manual
reloading, by a single function of the trigger. Therefore, both firearms are defined as machine
guns under the National Firearms Act, Title 26, United States Code Section 5845(b).

17. The barrel measurements on one of the firearms purchased from BABBITT on
July 24, 2019 revealed it is just under 10 (ten) inches in length which meets the description
of a Short Barrel Rifle under the National Firearms Act, Title 26, United States Code Section
5845(a)(3), as having a barrel of less than 16 (sixteen) inches in length.

18. On August 29, 2019, BABBITT contacted UC stating that BABBITT needed
money and offered to sell UC a handgun for $1,200.00. UC and BABBITT agreed on a sell
price of $1,000.00. Due to UC being unavailable to purchase the firearm from BABBITT,

UC told BABBITT that UC’s “boy” would pick it up the following day, August 30, 2019.

 
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19. On August 30, 2019, ATF conducted an operation for ATF CI-7778 to
purchase the handgun from BABBITT. ATF CI contacted BABBITT on phone number
(702) 720-8614. ATF CI and BABBITT agreed to meet in the parking lot of the Las Vegas
Athletic Club, located at 9065 S Eastern Ave, Las Vegas, NV 89123.

20. Atapproximately 1314 hours, ATF CI met with BABBITT, who arrived in a
Green colored Dodge Challenger, bearing Nevada License plate VAP555, and purchased a
handgun style firearm (Manufacture: Sig Sauer, Model: P229, Caliber: 9mm, Serial:
55B069447) for $1,000.00.

21. On September 3, 2019, ATF and LVMPD conducted an operation for
LVMPD UC to purchase three (3) additional AR-15 style machine guns from BABBITT.
UC coordinated to meet BABBITT in the parking lot of 8826 S Eastern Ave., Las Vegas, NV
89123 to purchase the three (3) machine guns for $6,000.00.

22. At approximately 1215 hours, UC met BABBITT at the predetermined
location. BABBITT arrived in the green colored Dodge Challenger, bearing Nevada license
plate VAP555, and parked next to UC’s vehicle.

23. BABBITT exited his vehicle with a large gun bag and entered the front seat of
UC’s vehicle. BABBITT explained to UC how BABBITT manufactured the firearms.
BABBITT inquired how many additional machine guns UC would want. UC advised
BABBITT that UC would want five (5) machine guns with each order. BABBITT stated
that he was going to buy a machine that would allow him to make the gun parts easier and
quicker.

24. UC paid BABBITT $6,000.00 in pre-recorded currency for the three (3)

suspected machine guns.

 
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25. Immediately following the operation, BABBITT was taken into custody.
BABBITT was read his “Miranda Rights” and admitted to manufacturing the machine guns
at his residence, 2194 Haypenny Ct., Las Vegas, NV 89123.

CONCLUSION

Based upon the foregoing facts, I respectfully submit that there is probable cause to
believe that violations of Title 18, United States Code, Section 922(a)(1)(A), Engaging in the
Business of Dealing in Firearms Without a License, Title 18, United States Code, Section
922(0), Illegal Possession of a Machine Gun, and Title 26, United States Code, Section
5861(f), Making of a Firearm in Violation of the National Firearms Act (Machine Gun) have

been committed by Jayson Michael BABBITT.

 

GREGORY PARTTON , special Agent
Bureau of Alcohol, Tobacco, Firearms
and Explosives

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Subscribed and sworn to before me this “4 day of September, 2019.

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HONORABLE ELAYNA J. YOUCHAH
UNITED STATES MAGISTRATE JUDGE

 
